Case: 1:19-cv-03077 Document #: 73 Filed: 07/23/19 Page 1 of 3 PagelD #:6024

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

CREATIVE IMPACT INC.;

CREATIVE IMPACT (HONG KONG) LIMITED;
ZURU LLC; and

ZURU INC.,

Case No.: 19-cv-3077

Judge Charles R. Norgle
Plaintiffs,

Vv.

THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON
SCHEDULE A HERETO,

eee eee

Defendants.
PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL

Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs CREATIVE
IMPACT INC., CREATIVE IMPACT (HONG KONG) LIMITED, ZURU LLC, ZURU INC., hereby
dismiss with prejudice all causes of action in the complaint against the following Defendants identified in

Schedule A. Each party shall bear its own attorney’s fees and costs.

No. Defendant

417 lbasdf

424 —Leschampselysees
44] lixiaolil23lixiaoli
458  machuanjiang

462 Magictomson

463 Magictttt

517. NewSunshine

540  Oursunshine

542  Outdoorbreath
560 — Poplicky
Case: 1:19-cv-03077 Document #: 73 Filed: 07/23/19 Page 2 of 3 PagelD #:6024

The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is

appropriate.

Respectfully submitted,

Dated: July 23, 2019 By: — s/Michael A. Hierl
Michael A. Hierl (Bar No. 3128021)
William B. Kalbac (Bar No. 6301771)
Hughes Socol Piers Resnick & Dym, Ltd.
Three First National Plaza
70 W. Madison Street, Suite 4000
Chicago, Illinois 60602
(312) 580-0100 Telephone

mhierl@hsplegal.com

Attorneys for Plaintiffs

CREATIVE IMPACT INC.,

CREATIVE IMPACT (HONG KONG) LIMITED,
ZURU LLC,

ZURU INC.
Case: 1:19-cv-03077 Document #: 73 Filed: 07/23/19 Page 3 of 3 PagelD #:6024

CERTIFICATE OF SERVICE
The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of

Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on July 23, 2019.

s/Michael A. Hierl

 
